     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 1 of 44 Page ID #:1



 1 RONALD P. SLATES, State Bar #43712
   KONRAD L. TROPE, Of Counsel, State Bar #133214
 2 RONALD P. SLATES, A PROFESSIONAL CORPORATION
   500 South Grand Avenue, Biltmore Tower Suite 2010
 3 Los Angeles, California 90071
   (213) 624-1515 I FAX (213) 624-7536
 4 rslates2@rslateslaw.com
   ktro e tro elaw rou .com
 5 Attorneys or Plamtif Lunch Inc., a Delaware corporation

 6

 7

 8                              UNITED STATES DISTRICT COURT
 9       FOR THE CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
10

11    LUNCH INC., a Delaware corporation,          CASE NO.
                   Plaintiff,
12
                                                    ll
                                          Complaint for:


                                                   !
                                              Breach of Written Contract;
13          vs.                          · 2 Breach of Oral Contract;
                                           3 Violation of the Racketeering
14    DILIGENCE CORPORATION, a             nfiuence and Corrupt Organizat10ns Act
      Tennessee CQrporation; KESHANTI E. "Rico" (Wire FraudJ;
15    CHISM aka KESHANTI EMIL CHISM (4) Violation of Rico (Money
      aka KESHANTI CHISM aka EMIL K.      Laundering)
16    CHISM aka E. CHISM KESHANTI and      5) Violation of Rico
      aka EMIL CHISM KESHANTI, an          Theft/Conversion);
17    individual; CARRIE ANNE PARRISH    (~6) Fraud - Intentional
      aka CARRIE PARRISH and aka         Misrepresentation- Suppression of Fact;
18    CARRIE TARRISH, an individual; and (7) Negligent Misrepresentation -
19
      DOES 1 through 25, inclusive,
                   Defendant.
                                                   )
                                          Suppress10~ of Fact;
                                                   g
                                              Conversion;
                                           9) Unjus~ Enrichment and Imposition of
20                                          onstructlve Trust; and
      - - - - - - - - - - - - - - - / (10) Conspiracy to Commit Fraud
21
                                                   PLAINTIFF DEMANDS A JURY
22                                                 TRIAL
23

24          Plaintiff LUNCH INC., a Delaware corporation, hereby respectfully brings this
25    Complaint and alleges as follows:
26                                          PARTIES
27          1.     Plaintiff, LUNCH INC., a Delaware corporation ("Plaintiff'), is now and
28    was, at all times herein mentioned, a corporation duly organized and existing under and
                                               Page 1

                                 Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 2 of 44 Page ID #:2




1    by virtue of the laws of the State of Delaware and is now and was, at all times herein
2    mentioned, authorized to do and doing business in the State of California as a foreign
3    corporation with its principal place of business in said State located in the County of
4    Los Angeles at 1241 5th Street, Suite 309, Santa Monica, California 90401.
5           2.    Plaintiff is informed and believes, and based upon such information and
6    belief alleges, that Defendant DILIGENCE CORPORATION ("Diligence"), is now
7    and was, at all times herein mentioned, a corporation duly organized and existing under
8    and by virtue of the laws of the State of Tennessee, with its principal place of business
 9   located at 5100 Poplar, 27th Floor in the City of Memphis, County of Shelby, State of
10   Tennessee.
11          3.    Plaintiff is informed and believes, and based upon such information and
12   belief alleges, that Defendant, KESHANTI CHISM aka KESHANTI EMIL CHISM
13   aka KESHANTI CHISM aka EMIL K. CHISM aka E. CHISM KESHANTI and aka
14   EMIL CHISM KESHANTI ("K. Chism"), is now and was, at all times herein
15   mentioned, an individual residing in the City of Memphis, County of Shelby, State of
16   Tennessee.
            4.    Plaintiff is further informed and believes, and based upon such
18    information and believe alleges, that Defendant K. Chism is now and was, at all times
19    herein mentioned, the Chief Executive Officer, a director and the Agent for Service of
20    Process of Defendant Diligence and derives all or substantially all of his livelihood
21    from the operation of Defendant Diligence.
22          5.     Plaintiff is further informed and believes, and based upon such
23    information and belief alleges, that this Court has ultra vires jurisdiction over
24    Defendant K. Chism based upon his engaging in activities that were outside of his
25    authority as the Chief Executive Officer and a director of Defendant Diligence, as set
26    forth more fully hereinbelow.
27          6.     Plaintiff is informed and believes, and based upon such information and
28    belief alleges, that Defendant, CARRIE ANN PARRISH aka CARRIE PARRISH and
                                               Page 2

                              Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 3 of 44 Page ID #:3



 1   aka CARRIE TARRI SH ("Parrish"), is now and was, at all times herein mentioned, an
2    individual residing in the County of Shelby, State of Tennessee.
3           7.    Plaintiff is further informed and believes and based thereon alleges that
4    Defendant Parrish is an officer and director of Defendant Diligence and derives all or
5    substantially all of her livelihood from the operation of Defendant Diligence.
6           8.    Plaintiff is further informed and believes, and based upon such
 7   information and belief alleges, that this Court has ultra vires jurisdiction over
 8   Defendant Parrish based upon her engaging in activities that were outside of her
 9   authority as an officer and director of Defendant Diligence, as set forth more fully
10   hereinbelow.
11          9.     Plaintiff 1s further informed and believes, and based upon such
12   information and belief alleges, that Defendant Parrish, is a co-conspirator in all
13   unlawful acts committed by Defendant Diligence and Defendant K. Chism.
            10.    Plaintiff is informed and believes, and based upon such information and
15   belief alleges, that Sade Chism (S. Chism"), an individual, and the co-owner of My
16   Greedy Girlfriend, LLC, a Georgia limited liability company with Defendant K. Chism,
17   may have been involved in the acts complained of herein. However, Plaintiff does not
18   at this time have sufficient facts to maintain a claim for relief against S. Chism.
19   Plaintiff will amend this Complaint to add Sade Chism as a Defendant should
20    sufficient facts be discovered to warrant same.
21          11.     Plaintiff is informed and believes, and based upon such information and
22    belief alleges, that Ollie J. Chism ("O. Chism"), an individual, may have been involved
23    in the acts complained of herein. However, Plaintiff does not at this time have
24    sufficient facts to maintain a claim for relief against Ollie J. Chism. Plaintiff will
25    amend this Complaint to add Ollie J. Chism as a Defendant should sufficient facts be
26    discovered to warrant same.
27          12.     Plaintiff is informed and believes, and based upon such information and
28    belief alleges, that Alma Jean Chism ("A. Chism"), may have been involved in the acts
                                              Page 3

                               Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 4 of 44 Page ID #:4



1    complained of herein. However, Plaintiff does not at this time have sufficient facts to
2    maintain a claim for relief against Alma Jean Chism. Plaintiff will amend this
3    Complaint to add Alma Jean Chism as a Defendant should sufficient facts be
4    discovered to warrant same.
5           13.   Plaintiff is informed and believes, and based upon such information and
6    belief alleges, that James Wiley, Jr. ("J. Wiley"), an individual, may have been
7    involved in the acts complained of herein. However, Plaintiff does not at this time
8    have sufficient facts to maintain a claim for relief against James Wiley, Jr. Plaintiff
 9   will amend this Complaint to add James Wiley, Jr., as a Defendant should sufficient
10   facts be discovered to warrant same.
11          14.   Plaintiff is informed and believes, and based upon such information and
12   belief alleges, that My Greedy Girlfriend, LLC, a Georgia limited liability company
13   ("My Greedy Girlfriend"), may have been involved in the acts complained of herein
14   as an unindicted RICO enterprise. However, Plaintiff does not at this time have
15   sufficient facts to maintain a claim for relief against My Greedy Girlfriend. Plaintiff
16   will amend this Complaint to add My Greedy Girlfriend, LLC, a Georgia limited
17   liability company as a Defendant should sufficient facts be discovered to warrant same.
18          15.    Plaintiff is informed and believes, and based upon such information and
19    belief alleges that Defendants DOES 1 through 10, inclusive, are individuals, who are
20    believed to reside in Tennessee, are associated with and/or employed by Diligence, and
21    may be involved in the acts complained of herein in that they were part of the RICO
22    conspiracy described hereinbelow wherein they assisted in facilitating the conversion
23    and theft of monies rightfully belonging to Plaintiff and aided and assisted Defendants
24    in transferring, converting and stealing monies from Plaintiff. The true names and
25    identities of these unindicted co-conspirators are presently unknown to Plaintiff.
26    Plaintiff will amend its Complaint to set forth the true names of said unindicted co-
27    conspirators when same become known to it.
28          16.    As permitted by Local Rule 19-1, the true names and capacities of
                                              Page 4

                              Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 5 of 44 Page ID #:5




1    Defendants DOES 11 through 25, inclusive, whether individual, corporate, associate
2    or otherwise, are unknown to Plaintiff, who therefore sues said Defendants by such
3    fictitious names. Plaintiff will amend its Complaint to allege said Doe Defendants' true
4    names and capacities when the same has been ascertained.
5           17.    Plaintiff is informed and believes, and upon such information and belief
6    allege, that each of the defendants named herein as DOES 11 through 25, inclusive,
7    were and are in some manner responsible for the actions, acts and omissions herein
8    alleged, and for the damage caused by the defendants, and are, therefore, jointly and
 9    severally liable for the damages caused to Plaintiff.
10          18.    Plaintiff is further informed and believes, and upon such information and
11    belief alleges, that each of the defendants including DOES 11 through 25, inclusive,
12    were, at all times herein mentioned, acting in concert with, and in conspiracy with,
13    each and every one of the remaining defendants.
            19.    At all times herein mentioned, defendants, and each of them, were an
15    owner, a co-owner, an agent, representative, partner, and/or alter ego of its
16    co-defendants, or otherwise acting on behalf of each and every remaining defendant
17    and, in doing the things hereinafter alleged, were acting within the course and scope
18    of their authorities as an owner, a co-owner, an agent, representative, partner, and/or
19    alter ego of its co-defendants, with the full knowledge, permission and consent of each
20    and every remaining defendant, each co-defendant having ratified the acts of the other
21    co-defendants.
22          20.    Wherever appearing in this Complaint, each and every reference to
23    defendants or to any of them, is intended to be and shall be a reference to all
24    defendants hereto, and to each of them, named and unnamed, including all fictitiously
25    named defendants, unless said reference is otherwise specifically qualified.
26                              JURISDICTION AND VENUE
27           21.   This Court has original jurisdiction pursuant to 28 U.S.C. § 1138(a)
28    because federal questions are predicated on violations of the Racketeering Influenced
                                               Page 5

                               Complaint & Demand for Jury Trial
                              Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 6 of 44 Page ID #:6




                         1    and Corrupt Organizations Act ("RICO"), codified at 18 U.S.C. §§ 1961-1968. The
                         2    RICO claims are predicated upon violations of 18 U.S.C. §§ 1962 and 1964. The Court
                         3    also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 as the non-federal
                         4    question claims arose from the same nucleus of operative facts. Additionally, the
                         5    amount in controversy exceeds $75,000 and there is diversity because the Plaintiff and
                         6    Defendants are of different citizenship pursuant to 28 U.S.C. § 1332. This Court also
                         7    has personal jurisdiction over Defendants K. Chism and Parrish based upon the ultra
                         8    vires acts committed by them which exceeded their authority as Chief Executive
                         9    Officer and director and officer and director, respectively, of Defendant Diligence.

 S!
       o
       0
                        10           22.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and(b )(2)
.:.§ N
  ~ ~                   11    because Plaintiff maintains its business in this judicial district and the events or
 ~:::,

~ ffi ~ E 12 omissions giving rise to the claims occurred in this judicial district, and all monies due
 <::   $ O') ,sl-
 -i ~ ~ ~ 13 to Plaintiff from Defendants were due and payable in this judicial district.
 ...   w 0:: (")
~o::o~
~ ~ ~ ~ 14                             ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
~ g_ ~LO
   ~ w w ~
             c'.3(/)_
                        15           23.     Plaintiff is in the business of factoring and, prior to the commencement
.] :Jul~
~   ~ ~ ~ 16 of this action, Plaintiff purchased certain agreed upon accounts receivable from and
~ , <(<C~

"'. ocn<'>    d
~ ~ g ~ 17 a vanced monies to Defendant Diligence pursuant to a Master Services Agreement
 <::   (!)
~ ~                     18     ("Services Agreement") which was executed on January 24, 2023 by Defendant K.
       0

       LO               -19    Chism as the General Manager of Defendant Diligence. A true and correct copy of
                        20     said Services Agreement is attached hereto and incorporated herein by reference as
                        21     Exhibit "1 ". Said Exhibit "1" was executed and accepted by Plaintiff in the above-
                        22     entitled district in the County of Los Angeles, State of California.
                        23           24.     Pursuant to Exhibit "1" hereto, Plaintiff became the legal owner and
                        24     holder of all receivables purchased by it pursuant to said contract or contracts.
                        25           25.     Defendant Diligence provides security guards to government agencies
                        26     throughout the State of Tennessee, including but not limited to, Bellevue Solid Waste
                        27     Management, in Memphis, Tennessee, Farrisview Solid Waste Facility in Memphis,
                        28     Tennessee, and John S. Wilder Youth Development Center in Somerville, Tennessee.
                                                                        Page 6

                                                       Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 7 of 44 Page ID #:7



 1          26.      Pursuant to the terms and conditions of Exhibit "l" hereto, Defendant
 2   Diligence shall pay Plaintiff the outstanding amount due on each such receivable
 3   within three (3) business days of receipt of each such receivable.
 4          27.      Pursuant to the terms and conditions of Exhibit "l" hereto, Plaintiff is
 5   allowed access to Defendant Diligence's bank account at Bank of America, N.A.,
 6   ending in #1732 to withdraw the outstanding amounts due within three (3) business
 7   days of receipt of same from Defendant Diligence's customer(s).
 8          28.      Pursuant to the terms and conditions of Exhibits "1" hereto, Plaintiff
 9   purchased the following accounts receivable from and advanced monies to Defendant
10   Diligence, and Plaintiff is now the legal owner and holder thereof pursuant to said
11   contract:
12   Name            Inv#       Inv Date     Inv. Due Date        Inv. Amt      Status
13   Bellevue        2064       05/07/23     05/07/23         $    7,392.00     Unpaid
14   Farrisview      2065       05/07/23     05/07/23              7,392.00     Unpaid
15   JSW Youth       2072       05/07/23      05/07/23            39,972.12     Unpaid
16   Bellevue        2084       05/14/23     05/14/23              7,392.00     Unpaid
17   Farrisview      2085       05/14/23      05/14/23             7,392.00     Unpaid
18   JSW Youth       2093       05/15/23      05/15/23            38,169.96     Unpaid
19          TOTAL OUTSTANDING AMOUNT DUE                      $ 106,810.08

20          A true and correct copy of each of the aforesaid invoices is attached hereto and
21   incorporated herein by reference as Exhibits "2", "3", "4", "5", "6", and "7",
22   respectively.
23          29.      From January 25, 2023 through April 30, 2023, Plaintiff purchased 26
24   accounts receivable from Defendant Diligence and received payment on all of same,
25   without objection, in the amount of $517,715.02, the last of which payments was
26   received on June 8, 2023. All payments made have been credited to Defendants'
27   account with Plaintiff, and there remains due, owing and unpaid from Defendants, and
28   each of them, to Plaintiff, at least the sum of One Hundred Six Thousand Eight
                                               Page 7

                               Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 8 of 44 Page ID #:8



1    Hundred Ten and 08/100 Dollars ($106,810.08) pursuant to Exhibits "2" through i_:J."
2    inclusive, hereto.
3           30.     Plaintiff knows, because it had access at all times hereto to Defendant
4    Diligence's bank account pursuant to Exhibit "1" hereto, and confirmed with
5    Defendant Diligence's customers, that all of the aforesaid unpaid invoices had been
6    paid by Defendant Diligence's customers, and that Defendants K. Chism and Parrish,
7    without corporate documented authority to do so, transferred all of the funds received
8    in payment of the aforesaid invoices from the Bank of America, N.A. account #1732
9    of Defendant Diligence to which Plaintiff had access to withdraw funds in payment of
10   the outstanding indebtedness due to other bank accounts (at banks in the United States)
11    of Defendants, and each of them, to which Plaintiff had no access and no power to
12    withdraw the funds.
            31.     On or about June 5, 2023 at 3:18 p.m., Plaintiff notified Defendant
14    Diligence in an email to K. Chism, that "The auto-debits for invoices 2065, 2072 and
15    2064 are all set to withdraw on 6/7/2023 in the total amount of$53,856.12 ... "
                    a.    Defendant K. Chism replied via email to Plaintiff on June 5, 2023
17    at 3 :20 p.m., "Please push these withdrawals as well until my deposits are confirmed.
18     "
19                  b.    Plaintiff responded via email on June 5, 2023 at 3:21 p.m., " ... I
20    will push them to the same date, 6/8/2023."
21                  c.    DefendantK. Chism replied via email on June 5, 2023 at 5:54 p.m.,
22    " ...Next week would be better for us to ensure we have received all payments to

23    support the transactions."
24                  d.    Plaintiff replied via email on June 6, 2023 at 11 :58 a.m., "I have
25    changed the debit date to next week on 6/14/2023 ...".
26                  e.    On June 13, 2023 at 10:06 a.m., Defendant Parrish emailed
27    Plaintiff, " ... Our payments are still being held up by our Customers. A lot of it has
28    to do with the fiscal year ending on June 30, 2023. Could we please request invoices
                                               Page 8

                               Complaint & Demand for Jury Trial
                            Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 9 of 44 Page ID #:9



                       1 2064 and 2065 be processed as agreed and invoice 2075 be processed on Monday 19
                       2 June 2023? We are trying to not have a cash flow crisis or issue. Sorry for the
                       3 inconvenience but we don't want any return payments and/or our current good standing
                       4 with LunchBox." A true and correct copy of the aforesaid email chain is attached
                       5 hereto and incorporated herein by reference as Exhibit "8".
                       6           32.    On June 19, 2023 at 12:52 p.m., Defendant K. Chism emailed Plaintiff,
                       7    "I am sorry but the news for us os (sic) still grim. It's the end ofFY23 on 30 June 23
                       8    and we believe they are trying to incumbent funds for our contracts and invoices to
                        9   close out the yes (sic). While we realize this isn't your concern, we have to again ask
         0             10   for your patience and request another extension of the remaining invoices. To be safe
 J"
    0    N
   ... w
   I:!
   Cl  I-              11   and not continue asking on (sic) vein, we request the extension period be until after the
   ~5
~ en~ co
      0::: I'-- <'>    12   first week in July. I am more than certain by then we will receive payment for our
      w8
""I:! s    O'l ~
                ~
   S:    0 <( N
  -~     I-   ~z       13   invoices and gift lunch balance with a zero balance. As we are aware our finances are
  "' w 0::: <'>
~o:::o~
   Q LI.~
   Cl
~:;:: :J               14 not your responsibility we are willing to offer a fair trade. With the extension we are
~ ffi~ c).. --~
     ~u.i~~            15 willing to agree to an additional 5% fee for you (sic) loss."
 .] => iil ~
~ ~Cl~
  >ZN                  16                  a.   On June 19, 2023 at 2:43 p.m., Plaintiff responded via email to
         <( <(     ~
 •       oen<'>
~              o~
         Z ...J N      17 Defendant K. Chism, " ... We can extend to the end of the first week of a July for an
~        ~         ~

   " Clen.
   <:!
                       18 additional 5% fee ...." A true and correct copy of said email chain is attached hereto
~ 00
         Ll)
                       19   and incorporated herein by reference as Exhibit "9".
                       20          33.     On July 5, 2023 at 12:48 p.m., Plaintiff emailed Defendant K. Chism,
                       21   "Following up on the invoice withdrawals for invoices 2065, 2072, 2064, 2085, 2084
                       22    and 2093. We are looking to set the withdrawals for Friday, 7/7/2023 ...."
                       23                  a.   On July 5, 2023 at 1: 13 p.m., Defendant K. Chism replied, "We are
                       24    still waiting payments. As we stated 30 Jun 23 was the last day of the fiscal year for
                       25    our clients. We are awaiting them to get final funding for FY23 for full payment.
                       26 Please be patient just a little while longer while we make these adjustments." A true
                       27    and correct copy of said email chain is attached hereto and incorporated herein by
                       28 reference as Exhibit "1 0".
                                                                      Page 9

                                                     Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 10 of 44 Page ID #:10



 1          34.       On July 14, 2023 at 11 : 12 a.m., Plaintiff emailed K. Chism, "Following
 2    up on the withdrawals for invoices 2065, 2072, 2085, 2084 and 2093. Can you provide
 3    an update on payment?"
 4                    a.   On July 14, 2023 at 11 :39 a.m., K. Chism replied via email, "We
 5    are still waiting for the purchase orders fo (sic) FY 23 to be signed. At that time the
 6    funds should be released for payments. I will inform you as soon as that process is
 7    complete." A true and correct copy of said email chain is attached hereto and
 8    incorporated herein by reference as Exhibit "11 ".
 9          35.       On July 17, 2023, Plaintiff emailed Defendant K. Chism "It has come to
10    our attention that your bank account has been disconnected from the Lunch platform.
11    Please log into the Lunch platform and reconnect your bank account." A true and
12    correct copy of said email is attached hereto and incorporated herein by reference as
13    Exhibit "12".
            36.       On July 19, 2023, Plaintiff emailed Chynelle Coleman of Farrisview
15    Solid Waste Facility with regard to Invoice numbers 2065 and 2085. In response
16    thereto, Ms. Coleman replied by email on July 19, 2023 at 8:18 a.m., "Invoice #2065
17    was paid and cleared our bank on 5/12/23 . Invoice #2085 was paid and cleared the
18    bank on 5/21 /23." A true and correct copy of said email chain is attached hereto and
19    incorporated herein by reference as Exhibit "13".
20          37.       On July 19, 2023, Plaintiff confirmed with the remaining vendors,
21    Bellevue Solid Waste Management and John S. Wilder Youth Development that all
22    outstanding invoices to Diligence had been paid in full. A true and correct copy of the
23    email chain confirming same is attached hereto and incorporated herein by reference
24    as Exhibit "14".
25          38.       On July 20, 2023 at 9:50 a.m., Plaintiff advised Defendant K. Chism via
26    email that "It has come to our attention that you have already been paid for receivables
27    that Lunch Inc. has purchased from you. We can work with you on a payment plan
28    over the next 4 weeks, including making a payment tomorrow. If we do not hear from
                                               Page 10

                                Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 11 of 44 Page ID #:11



 1    you or receive a payment by tomorrow, we will take legal action." The payment plan
2      was $30,000.00 on 7/21/2023; $30,000.00 on July 28, 2023; $30,000.00 on August 4,
3      2023 and $22,150.58 on 8/11/2023. No payment was ever received from Defendant
 4     or anyone acting on Defendants' behalf.
5                    a.    On July 26, 2023 at 1:28 p.m., Plaintiff followed up and advised
6      Defendant K. Chism via email that "Per our conversation a few minutes ago, we would
 7     like to discuss the outstanding payments due to Lunch. Before hanging up on me, you
8      mentioned that you'd call me back. If you want to discuss the payment plan, you have
 9     my number.... " A true and correct copy of said email chain is attached hereto and
10     incorporated herein by reference as Exhibit "15".
11           39.     To date, no further response has been received by Plaintiff from
12     Defendant Diligence or anyone acting on Defendant Diligence's behalf, and no further
13     payments have been received.
             40.     Plaintiff is informed and believes, and based upon such information and
15     belief alleges, that Defendants K. Chism and Parrish, without documented corporate
16     authority to do so, received all of the foregoing payments and thereafter, without
17     documented corporate authority to do so, removed said monies from Defendant
18     Diligence's Bank of America, N.A. account #1732 so that Plaintiff could not access
19     said funds and transferred same to other bank accounts (in banks located in the United
20     States) under the sole custody and control of Defendants, and each of them.
21           41.     Plaintiff further alleges that all of the aforesaid invoices have been paid
22     to Defendant Diligence by its customers, and that all of said payments have been
23     diverted by Defendants K. Chism and Parrish, without documented corporate authority
24     to do so, to other accounts at a bank or banks in the United States, including their own
25     banks and those of other unindicted individuals, all to Plaintiffs damage in at least the
26     sum of One Hundred Six Thousand Eight Hundred Ten and 08/100 Dollars
27     ($106,810.08).
28           42.     Plaintiff is also entitled to interest on the unpaid outstanding amount due
                                                Page 11

                                Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 12 of 44 Page ID #:12



 1     at the lawful rate of 10% per annum from and after the due dates set forth on Exhibits
2     "2" through "7" inclusive, hereto.
3            43.     Plaintiff is also entitled to an additional 5% fee for granting Defendants
 4    the extensions of time set forth hereinabove in the amount of $5,340.50.
5            44.     Pursuant to Paragraph 1OG) of Exhibit" 1" hereto, Customer (Defendant
 6    Diligence) agrees to pay any legal expenses incurred by Lunch in the event Customer
 7     and End-Customer fails to pay Lunch for Receivables in accordance with the terms of
 8    this Agreement. ... These expenses shall include, but are not limited to, attorney's fees
 9     and court costs. If Lunch engages legal counsel to collect payment on any Receivables,
10     Customer shall be responsible for reimbursing Lunch for all legal fees and costs in
11     connection with such collection efforts .... "
             45.     No further sums whatsoever have been paid to Plaintiff to date by
13     Defendants or anyone acting on Defendants' behalf.
                          ALLEGATIONS RE DEFENDANTS' FRAUD
             46.     Plaintiff is informed and believes and based upon such information and
16     belief alleges that the entire transaction between Plaintiff and Defendants, and each of
17     them, was an elaborate fraudulent suppression of facts regarding the scheme concocted
18     by Defendants, and each of them, to lull Plaintiff into a false sense of security that
19     Defendant Diligence was a legitimate company engaged in business and that it would
20     pay to Plaintiff all monies advanced against invoices pursuant to Exhibit" 1" hereto in
21     a timely manner, as it did with the initial twenty-six (26) invoices.
22           47.     The true facts were as follows:
23                   a.    Defendants K. Chism and Parrish knew at the time that Defendant
24     K. Chism entered into Exhibit "l" that Defendants had no intention of adhering to the
25     terms of Exhibit "1" hereto but rather paid the first twenty-six (26) transactions in
26     order to lull and induce Plaintiff into a false sense of security that Defendants would
27     in fact pay all sums advanced and to be advanced when due;
28                   b.    Defendants K. Chism and Parrish never intended to pay the amounts
                                               Page 12

                                Complaint & Demand for Jury Trial
                         Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 13 of 44 Page ID #:13



                     1     due pursuant to Exhibits "1" through "7" hereto;
                     2                    c.    Defendants K. Chism and Parrish always intended to and purposely
                     3     did convert the funds advanced by Plaintiff to Defendant Diligence to their own use
                     4     and benefit; and
                     5                    d.    Defendants K. Chism and Pararish always intended to and
                     6     purposely did convert the monies paid by Defendants' customers on the factored
                     7     invoices to their own use and benefit which Defendants did when they misappropriated
                     8     funds from Defendants' customers instead of leaving same in Defendant Diligence's
                     9     Bank of America, N.A. account #1732 and when they diverted payments made by
     a
  ,: 0              10     Defendants' customers to bank accounts in the United States to which Plaintiff had no
 ~      C\I

  ~ ~               11     access.   Plaintiffs reliance on Defendants' false representations was reasonable
   ~ ::::>
t\ ~ (/) ~ <.O
~       ffi g E 12 because of the payment of the first twenty-six (26) installments.
  <:!   s: a, '<t
 -i ~ ~ ~ 13
  "<)   w ~ (")
                                  48.     Plaintiff is informed and believes, and based upon such information and
~~o~
~ ~ ~ ~ 14 belief alleges, that Defendants did all of the aforesaid acts in order to suppress their
~ ~ c'.S_~
   :, u.i ~ ~       15     actual intent and scheme as set forth above, which Plaintiff believes Defendants have
 Ji ::::>[ij~
~  ~~~
-i <(<C~
                    16     perpetrated on other unsuspecting institutions such as Plaintiff in the past and will
~ ~ g& 17 continue to do so in the future.
~       ~

J~      0
                    18                                  FIRST CLAIM FOR RELIEF
        '°          19                                   (Breach of Written Contract)
                    20            AS AND FOR A FIRST CLAIM FOR RELIEF FOR BREACH OF WRITTEN
                    21     CONTRACT AGAINST DEFENDANTS DILIGENCE, K. CHISM, PARRISH AND
                    22     DOES 11 THROUGH 25, INCLUSIVE, PLAINTIFF ALLEGES:
                    23            49.     Plaintiff realleges and incorporates herein by reference Paragraphs 1
                    24     through 46, inclusive, of Plaintiffs Complaint with the same force and effect as though
                    25     set forth in full herein.
                    26            50.     There existed a written contract between Plaintiff and Defendants, and
                    27     each of them, the terms of which are set forth at Paragraphs 24 through 46, above and
                    28     in Exhibit "l ".
                                                                    Page 13

                                                       Complaint & Demand for Jury Trial
                                   Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 14 of 44 Page ID #:14



                                   1           51.     Plaintiff has performed all terms, conditions and covenants required by
                                   2   it under the written contract described hereinabove.
                                   3           52.     Defendants have failed to perform the various material covenants, terms
                                   4   and conditions required of them under the written contract as set forth hereinabove.
                                   5   Thus, Defendants are in material breach of the written contract between the parties.
                                   6          53.      As a result of Defendants' breach of the terms and conditions of the
                                   7   written agreement and invoices between Plaintiff and Defendants, and each of them,
                                   8   Plaintiff has been damaged in at least the sum of One Hundred Six Thousand Eight
                                   9   Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
     0-:!
            0
            .....
                                  10   trial together with interest thereon at the lawful rate of 10% per annum from and after
     <:,    0
 ~          ('\J

     ~      w
     <:,    !:::                  11   the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
     ~:::,
(\   ~      (/)     .....   (!)
'-.)
...._, w8~
            0::: I'-- (Y)
                                  12   "7", inclusive plus the 5% additional fee agreed upon between the parties for the
     ~      50'>,.j.
     0-:!   0 <( N
     -~
     ..,
            I-   ~  z
            w 0::: (Y)
                                  13   additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
~c:::o..-
~~ ~ u.
     ~ ~~ 14                           $ 5, 340 .50.
            0

~           ...J (.)        u.
      ) iii_ ui ;;;
       ._ w UJ ~
                                  15          54 .     Plaintiff has employed RONALD P. SLATES, A PROFESSIONAL
 J ::iu:j~
~  ; ~ ~ 16 CORPORATION, a duly licensed and registered professional corporation by the State
~J <(<C~

~
     ~
            ! g&
            (j
                                  17   Bar of California, to file and prosecute this action and has been obligated to pay said
     0-:!       •
                                  18   law corporation a fee for the services rendered by it to Plaintiff at the rate of Managing
~~0
            LO
                                  19   Attorney Ronald P. Slates at $695.00 per hour, $595.00 per hour for legal services
                                  20   rendered by Senior Attorneys "Of Counsel", Konrad L. Trope, Daren Schlecter and
                                  21   Gerald Zack, $550.00 per hour for services rendered by Associate Attorneys, $495.00
                                  22   per hour for services rendered by Senior Legal Assistant, $395.00 per hour for services
                                  23   rendered by Senior Paralegal and $395.00 per hour for services rendered by In-House
                                  24   Investigator/Registered Process Server Carl Knapp. Therefore, pursuant to Paragraph
                                  25   1OU) ofExhibit "1" hereto, and as provided by California law, Plaintiff seeks attorney's
                                  26   fees and costs herein in at least the sum of Fifty Thousand and 00/100 Dollars
                                  27   ($50,000.000) or according to proof at the time of trial.
                                  28 / / /
                                                                                Page 14

                                                                 Complaint & Demand for Jury Trial
                                   Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 15 of 44 Page ID #:15



                               1                                SECOND CLAIM FOR RELIEF
                              2                                    (Breach of Oral Contract)
                              3            AS AND FOR A SECOND CLAIM FOR RELIEF FOR BREACH OF ORAL
                              4     CONTRACT AGAINST DEFENDANTS DILIGENCE, K. CHISM, PARRISH AND
                              5     DOES 11 THROUGH 25, INCLUSIVE, PLAINTIFF ALLEGES:
                              6            55.     Plaintiff realleges and incorporates herein by reference Paragraphs 1
                              7     through 46, inclusive, of Plaintiffs Complaint with the same force and effect as though
                              8     set forth in full herein.
                               9           56.     There existed an oral contract between Plaintiff and Defendants, and
         o                    10    each of them, the terms of which are set forth at Paragraphs 24 through 46, above and
  J 0
   ,a!
         N
   ~ ~                        11    are memorialized in Exhibit "l" hereto.
   ~ ::::>
(\ ' ;   (/)     'r"   (D

~    ffi 8 @ 12                            57.     Plaintiff has performed all terms, conditions and covenants required by
   ~ s           O')   ..;.


 -~ ~ ~~
    w a:::<')
   '<)
                              13     it under the oral contract described hereinabove and as memorialized in Exhibit "1"
~a:::o-r-
~ ~ ~ t:!- 14 hereto.
~~ ~5-~
   w ~ ~ 15                                58.     Defendants have failed to perform the various material covenants, terms
  Ji     ::::>   iil ~
~  ~ ~ ~ 16 and conditions required of them as set forth hereinabove pursuant to the oral contracts
~1 <(<C~
     •   Cl Cl) M
~ z g N                       17     (which are memorialized in Exhibit "1" hereto). Thus, Defendants are in material
~        ~             ~
    ~    0
~ ~                           18     breach of the oral contract between the parties.
         0

         '°                   19           59.     As a result of Defendants' breach of the terms and conditions of the oral
                              20     agreement and invoices between Plaintiff and Defendants, and each of them, Plaintiff
                              21     has been damaged in at least the sum of One Hundred Six Thousand Eight Hundred
                              22     Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of trial
                              23     together with interest thereon at the lawful rate of 10% per annum from and after the
                              24     "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through "7",
                              25     inclusive plus the 5% additional fee agreed upon between the parties for the additional
                              26     extensions of time to pay granted by Plaintiff to Defendants in the sum of $5,340.50.
                              27           60.      Plaintiff has employed RONALD P. SLATES, A PROFESSIONAL
                              28     CORPORATION, a duly licensed and registered professional corporation by the State
                                                                             Page 15

                                                                Complaint & Demand for Jury Trial
                             Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 16 of 44 Page ID #:16



                         1 Bar of California, to file and prosecute this action and has been obligated to pay said
                         2     law corporation a fee for the services rendered by it to Plaintiff at the rate of Managing
                         3 Attorney Ronald P. Slates at $695.00 per hour, $595.00 per hour for legal services
                         4     rendered by Senior Attorneys "Of Counsel", Konrad L. Trope, Daren Schlecter and
                         5 Gerald Zack, $550.00 per hour for services rendered by Associate Attorneys, $495.00
                         6     per hour for services rendered by Senior Legal Assistant, $395.00 per hour for services
                         7     rendered by Senior Paralegal and $395.00 per hour for services rendered by In-House
                         8 Investigator/Registered Process Server Carl Knapp. Therefore, pursuant to Paragraph
                         9     1OG) ofExhibit "1" hereto, and as provided by California law, Plaintiff seeks attorney's
        0               10     fees and costs herein in at least the sum of Fifty Thousand and 00/100 Dollars
 " 0
 ~      N
 . w
 I::!
 <::,   I-              11     ($50,000.000) or according to proof at the time of trial.
~
 ~s     C/)~(D
        0:: I'-
""'-' w8~
                  C')
                        12                                THIRD CLAIM FOR RELIEF
 I::!
 ,:!
        sQ<(N'St
             a,

 -~  z~ I-
   w 0:: C')
 '<)
                        13        (Violations of the Racketeering Influence and Corrupt Organizations Act
~o::o~
 ~ 0 u. ~
~ ~~~
                        14                                    ("RICO")) (Wire Fraud)
~       ::UU.
        IIl - ._
   ~u.i~~               15           AS AND FOR A THIRD CLAIM FOR RELIEF FOR VIOLATIONS OF THE
J ::) i:d ~
~ di
  >ZN C) 'St            16 RACKETEERING INFLUENCE AND CORRUPT ORGANIZATIONS ACT
   <( <( ~
 . 0 Cl) C')
~ Z ....IN
      0 ~               17 ("RICO") (WIRE FRAUD) AGAINST DEFENDANTS K. CHISM, PARRISH AND
~       ~         ~
 I::!   C)


~
 " uj   0
                        18 DOES 1 THROUGH 10, INCLUSIVE, PLAINTIFF ALLEGES:
        0
        LO
                        19           61.     Plaintiff realleges and incorporates herein by reference Paragraphs 1
                        20 through 48; inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
                        21     60, inclusive, ofits Complaint with the same force and effect as though set forth in full.
                        22           62.      The relevant time period for Defendant K. Chism' s and Parrish's pattern
                        23     of racketeering stems from at least September 14, 201 7 through the present, and
                        24 possibly earlier, but at this point in discovery is as yet unknown and continues to the
                        25     filing of this RICO Complaint.
                        26           63.      Defendant K. Chism is now and was at all times relevant to this action
                        27     a RICO Person ("RICO Person") within the meaning of 18 U.S.C. §§ 1961(3) and
                        28     1962(c).
                                                                        Page 16

                                                        Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 17 of 44 Page ID #:17




 1           64.     Defendant Parrish is now and was at all times relevant to this action a
2     RICO Person ("RICO Person") within the meaning of 18 U.S.C. §§ 1961(3) and
3      1962(c).
4      The RICO Enterprise
5            65.     The RICO Persons have used the corporate entity, Diligence, within the
6      meaningof18U.S.C. §§ 1961(4), tocarryoutthepattemofracketeeringactivity. This
7      enterprise consists of the RICO enterprise(Diligence) operated by the RICO persons,
8      Defendants K. Chism, Parrish and Does 1 through 10 hereto (the "Rico Family"). This
9 RICO enterprise possessed and continues to possess a common purpose and goal, a

10     membership, organizational structure, and an ongoing relationship amongst the RICO
11     Persons, the RICO enterprise (which was formed by Defendant K. Chism on or about
12     September 14, 2017) and the Rico Family with sufficient longevity to permit and
13     enable pursuit ofthe enterprise's purpose and longterm objective through a continuous
14     course of conduct that affected and continues to affect interstate commerce.
             66.     This association-in-fact enterprise of Defendants also consists of non-
16     Defendants S. Chism, 0. Chism, A. Chism and J. Wiley (the "Rico Family and
17 Friends"). Plaintiff is informed and believes, and based upon such information and
18     belief alleges, that all of the afore-named individuals facilitated and assisted the RICO
19     Persons defined hereinabove, in carrying out the enterprise described hereinabove and
20     hereinbelow but Plaintiff does not at this time have sufficient facts to maintain a claim
21     for relief against said individuals. Plaintiff will amend its Complaint to set forth their
22     true names when same have been ascertained.
23           67.      Diligence is an enterprise that exists separate and apart from Defendants
24     K. Chism's and Parrish's pattern of racketeering activity inasmuch as the RICO
25     Persons, the RICO enterprise, the Rico Family and the Rico Family and Friends have
26     multiple goals, not all of which are fraudulent or illegal. The lawful activity engaged
27     in by the Diligence enterprise includes functioning as a regular business which
28     provides security guards to the clients of Diligence which consists of
                                                Page 17

                                Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 18 of 44 Page ID #:18




1     public/government entities throughout the State of Tennessee. However, The RICO
2     Persons, the RICO business, the Rico Family and the Rico Family and Friends have,
3     since at least May of 2023, used this enterprise to conduct the repetitive acts of wire
4      fraud which compromise the pattern of racketeering, as well as the continuous acts set
5      forth hereinabove, which constitute violations of the criminal acts of wire fraud.
6            68.     Defendant K. Chism is a "person" under the civil RICO statute because
7     he knowingly and fraudulently masterminded, conducted and participated in the
8      conduct, the management and the operation of the enterprise's affairs, directly or
9      indirectly, through a pattern of wire fraud racketeering activity in violation of 18
10    U.S.C. § 1962(c).
11           69.     As part of the wire fraud scheme, Defendants Parrish and DOES 1
12     through 10, inclusive, at the direction of Defendant K. Chism, used a complex scheme
13     to transfer funds which rightfully belonged to Plaintiff pursuant to the terms and
14     conditions of Exhibit "1" hereto to banks, other than Bank of America, N.A. account
15     #1732 where the funds from 3rd party vendors were to be deposited pursuant to said
16     written agreement, in Tennessee and elsewhere in the United States.
             70.     At all relevant times, the Defendants and other conspirators associated
18     with the Diligence enterprise conducted and participated, directly or indirectly, in the
19     conduct of the enterprise affairs through a "pattern of racketeering activity" within the
20     meaning of RICO, 18 U.S.C. § 1961(5), in violation ofRICO, 18 U.S.C. § 1962(e).
21           71.     Specifically, at all relevant times, Defendants K. Chism, Parrish and
22     Does 1 through 10, inclusive, engaged in "racketeering activity" within the meaning
23     of 18 U.S.C. § 1961(1) by engaging in the acts set forth above against Plaintiff, and
24     other financial institutions in the marketplace all with the express purpose of avoiding
25     payment of the outstanding amounts due to Plaintiff.
26           72.     In furtherance of this racketeering pattern, smce May of 2023,
27     Defendants caused monies to be transferred into bank accounts to which Plaintiff did
28     not have access and thereafter converted said funds to their own use and benefit.
                                                Page 18

                                Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 19 of 44 Page ID #:19




1           73.       In addition, Defendants, as part of their racketeering activity also took
2     the funds illegally taken out of the Bank of America, N.A. account # 1732 to which
3     Plaintiff had access and deposited those funds into accounts at Banks in the United
4     States to which Plaintiff did not have access, and said funds were also used to pay the
5     personal and/or business expenses of Defendants K. Chism, Parrish and Does 1
6     through 10, inclusive.
 7          74.       Thus, the acts set forth above constitute a violation of one or more of the
8     following statutes:18 U.S.C. § 1956 and§ 1957 (wire fraud, money laundering and
 9    theft/conversion).    Defendants and their accomplices and co-conspirators each
10    committed and/or aided and abetted in the commission of two or more of these acts of
11    racketeering activities.
            75.       The acts by the RICO Persons in furtherance of their wire fraud scheme
13    to launder funds and convert same to their own use to avoid payment of the
14    outstanding amounts due to Plaintiff constituted a pattern of racketeering activity
15    within the meaning of 18 U.S.C. § 1961(5) because the predicate acts are repetitive,
16    related and continuous. Each predicate act described hereinabove had the same or
17    similar purpose: the predicate acts involved material misrepresentations, omissions and
18    concealment in a scheme to injure Plaintiff and defraud Plaintiff of the monies
19    rightfully due to it pursuant to the terms and conditions of Exhibit "1" hereto. This
20    pattern of racketeering is separate and distinct from the legitimate business activities
21    of Diligence.
22           76.      Defendants and other disparagers committed acts in violation of 18
23    U.S. C. § 1956(a)( 1) in which Defendants conducted a financial transaction, namely, the
24    transferance of funds out of bank accounts to which Plaintiff had agreed upon access
25    with the specific intent of designing or concealing or disguising the nature, location,
26    source, ownership or control of the proceeds. See 18 U.S.C. § 1956(a)(l)(B)(i).
27           77.      In addition, Plaintiff is informed and believes and thereon alleges that
28    the multiple transactions were undertaken by the Defendants with the knowledge that
                                                Page 19

                                 Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 20 of 44 Page ID #:20



 1     the transaction was designed to avoid the transaction reporting requirements under
 2     Federal statutes [e.g., in violation of31 U.S.C. §§5313 (currency transaction reports),
 3     5316 (Currency and Monetary Instruments Reports), or 26 U.S.C. §6050! (Internal
 4     Revenue Service Form 8300)].
 5           78.     Defendants, indeed, have, through their misconduct described
 6     hereinabove violated 18 U.S.C. § 1957, because these Defendants, or at the very least
 7     Defendants K. Chism and Parrish, conducted multiple monetary transactions that were
 8     criminal by nature because the funds were illegally taken out of bank accounts to
 9     which Plaintiff had access pursuant to the terms and conditions of Exhibit "I" hereto
10     and turned into cash and/or placed in bank accounts over which Plaintiffhad no access,
11     and that such property was inanamountgreaterthan $10,000. See U.S.C. §1957(£)(1).
12     These transactions included deposits, withdrawals, transfers, or exchanges, in or
13     effecting interstate commerce, of funds or monetary instruments that by, or through,
14     to a financial institution, including any transaction that would be defined as a
15     transaction under 18 U.S.C. §§1956(c)(3) and 1956(c)(4).
16           79.     Furthermore, each one of these financial transactions constitutes a
17     separate act unless there is a pattern of illegal conduct that qualifies for invocation of
18     the RICO statute. See, e.g., United States v. Prescott, 42 Cap.F.3d 1165 (8 th Cir.
19     1994); United States v. Conley, 826 F.Supp. 1536 (W.D.Pa. 1998).
20           80.     There is extra territorial jurisdiction for these violations as the
21    transactions in question not only exceed $10,000, but also that the wire fraud was
22     conducted by a United States citizen and the conduct occurred in the United States.
23     See 18 U.S.C. §§1956(£), 1957(d).
24           81.     The acts of racketeering activity previously described constitute a
25     "pattern of racketeering activity" within the meaning of 18 U.S.C. § 1951(5).
26           82.     The acts alleged were related to each other by virtue of common
27     participants, common victims and a common result of fraud and enriching the
28     Defendants and conspirators at Plaintiffs expense while concealing the conspirators'
                                                Page 20

                                Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 21 of 44 Page ID #:21




 1     fraudulent activities. The wire fraud scheme continues and would have remained
 2     unknown but for Plaintiff having discovered the fraudulent activities when it attempted
 3     to debit the Bank of America, N.A. account #1732 of Diligence and there were no
 4     funds present therein after Plaintiff had confirmed that Diligence's 3rd party vendors
 5     had in fact paid all outstanding amounts due to Diligence.
 6           83.      To date, Plaintiff has been damaged in at least the sum of One Hundred
 7     Six Thousand Eight Hundred Ten and 08/100 Dollars ($106,810.08) or according to
 8     proof at the time of trial together with interest thereon at the lawful rate of 10% per
 9     annum from and after the "Payment Date" set forth on each invoice attached hereto as
10     Exhibits "2" through "7", inclusive plus the 5% additional fee agreed upon between the
11     parties for the additional extensions of time to pay granted by Plaintiff to Defendants
       in the sum of $5,340.50 plus attorneys' fees.
             84.      Pursuant to RICO, 18 U.S.C. § 1964(c), Plaintiff is entitled to recover
14     three-fold its damages, plus costs and attorneys' fees from the Defendants.
                                 FOURTH CLAIM FOR RELIEF
          (Violations of the Racketeering Influence and Corrupt Organizations Act
                                 ("RICO")) (Money Laundering)
18           AS AND FORA FOURTH CLAIMFORRELIEF FOR VIOLATIONS OF THE
19     RACKETEERING INFLUENCE AND CORRUPT ORGANIZATIONS ACT
20     ("RICO") (MONEY LAUNDERING) AGAINST DEFENDANTS K. CHISM,
21     PARRISH AND DOES 1 THROUGH 10, INCLUSIVE, PLAINTIFF ALLEGES:
22           85 .     Plaintiff realleges and incorporates herein by reference Paragraphs 1
23     through 48, inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
24     60, inclusive, of its Complaint with the same force and effect as though set forth in full.
25           86.      The relevant time period for Defendant K. Chism' s and Parrish's pattern
26     of racketeering stems from at least September 14, 2017 through the present, and
27     possibly earlier, but at this point in discovery is as yet unknown and continues to the
28     filing of this RICO Complaint.
                                                 Page 21

                                Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 22 of 44 Page ID #:22



1            87.     Defendant K. Chism is now and was at all times relevant to this action
2     a RICO Person ("RICO Person") within the meaning of 18 U.S.C. §§ 1961(3) and
3      1962(c).
4            88.     Defendant Parrish is now and was at all times relevant to this action a
5 RICO Person ("RICO Person") within the meaning of 18 U.S.C. §§ 1961(3) and

6      1962(c).
 7    The RICO Enterprise
 8           89.     The RICO Persons have used the corporate entity, Diligence, within the
 9    meaningof18U.S.C. §§ 1961(4), tocarryoutthepatternofracketeeringactivity. This
10     enterprise consists of the RICO enterprise (Diligence) operated by the RICO persons,
11    Defendants K. Chism, Parrish and Does 1 through 10 hereto (the "Rico Family"). This
12    RICO enterprise possessed and continues to possess a common purpose and goal, a
13     membership, organizational structure, and an ongoing relationship amongst the RICO
14     Persons, the RICO enterprise (which was formed by Defendant K. Chism on or about
15     September 14, 2017) and the Rico Family with sufficient longevity to permit and
16     enable pursuit of the enterprise's purpose and long term objective through a continuous
17     course of conduct that affected and continues to affect interstate commerce.
18           90.     This association-in-fact enterprise of Defendants also consists of non-
19     Defendants S. Chism, 0. Chism, A. Chism and J. Wiley (the "Rico Family and
20     Friends"). Plaintiff is informed and believes, and based upon such information and
21     belief alleges, that all of the afore-named individuals facilitated and assisted the RICO
22     Persons defined hereinabove, in carrying out the enterprise described hereinabove and
23     hereinbelow but Plaintiff does not at this time have sufficient facts to maintain a claim
24     for relief against said individuals. Plaintiff will amend its Complaint to set forth their
25     true names when same have been ascertained.
26           91.      Diligence is an enterprise that exists separate and apart from Defendants
27     K. Chism's and Parrish's pattern of racketeering activity inasmuch as the RICO
28     Persons, the RICO Business, the Rico Family and the Rico Family and Friends have
                                                Page 22

                                Complaint & Demand for Jury Trial
                     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 23 of 44 Page ID #:23




                    1 multiple goals, not all of which are fraudulent or illegal. The lawful activity engaged
                    2    in by the Diligence enterprise includes functioning as a regular business which
                    3    provides security guards to the clients of Diligence which consists of
                    4    public/government entities throughout the State of Tennessee. However, The RICO
                    5    Persons, the RICO business, the Rico Family and the Rico Family and Friends have,
                    6    since at least May of 2023, used this enterprise to conduct the repetitive acts of money
                    7    laundering which compromise the pattern of racketeering, as well as the continuous
                    8    acts set forth hereinabove, which constitute violations of the criminal acts of money
                    9    laundering.
  ~ ~               10         92.     Defendant K. Chism is a "person" under the civil RICO statute because
.:.§ ~
  ~ ~               11   he knowingly and fraudulently masterminded, conducted and participated in the
 ~:::)
"~ cn~c.o
~      ffi g E 12 conduct, the management and the operation of the enterprise's affairs, directly or
 ~     :s;:m,.i.
 -~ ~ ~ ~ 13             indirectly, through a pattern of money laundering racketeering activity in violation of
 "<lw 0::     C')
~o::o~
~ ~ ~ ~ 14               18 U.S.C. § 1962(c).
~~ ~5-~
   u.i ~ ~          15         93.     As part of the money laundering scheme, Defendants Parrish and DOES
.] :::) iil ~
~  ; ~ r!i 16 1 through 10, inclusive, at the direction of Defendant K. Chism, used a complex
~1 <(<C~

~ ~ g& 17 scheme to transfer funds which rightfully belonged to Plaintiff pursuant to the terms
~ a:::
 "'    C,
~ ~                 18   and conditions of Exhibit "1" hereto to banks, other than Bank of America, N.A.
       0

       If)          19   account #1732 where the funds from 3rd party vendors were to be deposited pursuant
                    20   to said written agreement, in Tennessee and elsewhere in the United States.
                    21         94.     At all relevant times, the Defendants and other conspirators associated
                    22   with the Diligence enterprise conducted and participated, directly or indirectly, in the
                    23   conduct of the enterprise affairs through a "pattern of racketeering activity" within the
                    24   meaning of RICO, 18 U.S.C. § 1961(5), in violation of RICO, 18 U.S.C. § 1962(e).
                    25         95.     Specifically, at all relevant times, Defendants K. Chism, Parrish and
                    26   Does 1 through 10, inclusive, engaged in "racketeering activity" within the meaning
                    27   of 18 U.S.C. § 1961(1) by engaging in the acts set forth above against Plaintiff, and
                    28   other financial institutions in the marketplace all with the express purpose of avoiding
                                                                  Page 23

                                                  Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 24 of 44 Page ID #:24



 1    payment of the outstanding amounts due to Plaintiff.
2            96.       In furtherance of this racketeering pattern, smce May of 2023,
3     Defendants caused monies to be transferred into bank accounts to which Plaintiff did
4     not have access and thereafter converted said funds to their own use and benefit.
5            97.       In addition, Defendants, as part of their racketeering activity also took
6     the funds illegally taken out of the Bank of America, N.A. account #1732 to which
 7    Plaintiff had access and deposited those funds into accounts at Banks in the United
 8    States to which Plaintiff did not have access, and said funds were also used to pay the
 9    personal and/or business expenses of Defendants K. Chism, Parrish and Does 1
10    through 10, inclusive.
11           98.       Thus, the acts set forth above constitute a violation of one or more of the
12     following statutes:18 U.S.C. § 1956 and§ 1957 (wire fraud, money laundering and
13    theft/conversion).     Defendants and their accomplices and co-conspirators each
14     committed and/or aided and abetted in the commission of two or more of these acts of
15    racketeering activities.
             99.       The acts by the RI CO Persons in furtherance of their money laundering
17     scheme to launder funds and convert same to their own use to avoid payment of the
18     outstanding amounts due to Plaintiff constituted a pattern of racketeering activity
19     within the meaning of 18 U.S.C. § 1961(5) because the predicate acts are repetitive,
20     related and continuous. Each predicate act described hereinabove had the same or
21     similar purpose: the predicate acts involved material misrepresentations, omissions and
22     concealment in a scheme to injure Plaintiff and defraud Plaintiff of the monies
23     rightfully due to it pursuant to the terms and conditions of Exhibit "1" hereto. This
24     pattern of racketeering is separate and distinct from the legitimate business activities
25     of Diligence.
26           100.      Defendants and other disparagers committed acts in violation of 18
27     U.S.C. §1956(a)(l) in which Defendants conducted a financial transaction, namely, the
28 transferance of funds out of bank accounts to which Plaintiff had agreed upon access
                                                 Page 24

                                 Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 25 of 44 Page ID #:25



 1    with the specific intent of designing or concealing or disguising the nature, location,
2     source, ownership or control of the proceeds. See 18 U.S.C. § 1956(a)(l)(B)(i).
3           101.    In addition, Plaintiff is informed and believes and thereon alleges that
 4    the multiple transactions were undertaken by the Defendants with the knowledge that
5     the transaction was designed to avoid the transaction reporting requirements under
6     Federal statutes [e.g., in violation of31 U.S.C. §§5313 (currency transaction reports),
 7    5316 (Currency and Monetary Instruments Reports), or 26 U.S.C. §6050! (Internal
8     Revenue Service Form 8300)].
9           102.    Defendants, indeed, have, through their misconduct described
10    hereinabove violated 18 U.S.C. §1957, because these Defendants, or at the very least
11    Defendants K. Chism and Parrish, conducted multiple monetary transactions that were
12    criminal by nature because the funds were illegally taken out of bank accounts to
13    which Plaintiff had access pursuant to the terms and conditions ofExhibit "l" hereto
14    and turned into cash and/or placed in bank accounts over which Plaintiff had no access,
15    and that such property was inanamountgreaterthan $10,000. See U.S.C. §1957(±)(1).
16    These transactions included deposits, withdrawals, transfers, or exchanges, in or
17 effecting interstate commerce, of funds or monetary instruments that by, or through,
18    to a financial institution, including any transaction that would be defined as a
19    transaction under 18 U.S.C. §§1956(c)(3) and 1956(c)(4).
20           103.   Furthermore, each one of these financial transactions constitutes a
21    separate act unless there is a pattern of illegal conduct that qualifies for invocation of
22    the RICO statute. See, e.g., United States v. Prescott, 42 Cap.F .3d 1165 (8 th Cir.
23    1994); United States v. Conley, 826 F.Supp. 1536 (W.D.Pa. 1998).
24           104.    There is extra territorial jurisdiction for these violations as the
25    transactions in question not only exceed $10,000, but also that the money laundering
26    was conducted by a United States citizen and the conduct occurred in the United
27    States. See 18 U.S.C. §§1956(±), 1957(d).
28           105.    The acts of racketeering activity previously described constitute a
                                               Page 25

                               Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 26 of 44 Page ID #:26



1     "pattern of racketeering activity" within the meaning of 18 U.S.C. § 1951(5).
2            106.    The acts alleged were related to each other by virtue of common
3     participants, common victims and a common result of fraud and enriching the
4     Defendants and conspirators at Plaintiffs expense while concealing the conspirators'
5      fraudulent activities.   The money laundering scheme continues and would have
6     remained unknown but for Plaintiff having discovered the fraudulent activities when
7      it attempted to debit the Bank of America, N.A. account# 1732 of Diligence and there
8      were no funds present therein after Plaintiff had confirmed that Diligence's 3rd party
 9     vendors had in fact paid all outstanding amounts due to Diligence.
10            107.   To date, Plaintiff has been damaged in at least the sum of One Hundred
11     Six Thousand Eight Hundred Ten and 08/100 Dollars ($106,810.08) or according to
12     proof at the time of trial together with interest thereon at the lawful rate of 10% per
13     annum from and after the "Payment Date" set forth on each invoice attached hereto as
14     Exhibits "2" through "7", inclusive plus the 5% additional fee agreed upon between the
15     parties for the additional extensions of time to pay granted by Plaintiff to Defendants
16     in the sum of $5,340.50 plus attorneys' fees.
              108.   Pursuant to RICO, 18 U.S.C. § 1964(c ), Plaintiff is entitled to recover
18     three-fold its damages, plus costs and attorneys' fees from the Defendants.
19                                FIFTH CLAIM FOR RELIEF
20        (Violations of the Racketeering Influence and Corrupt Organizations Act
21                                ("RICO")) (Theft/Conversion)
22           AS AND FOR A FIFTH CLAIM FOR RELIEF FOR VIOLATIONS OF THE
23     RACKETEERING INFLUENCE AND CORRUPT ORGANIZATIONS ACT
24     ("RICO") (THEFT/CONVERSION) AGAINST DEFENDANTS K. CHISM,
25     PARRISH AND DOES 1 THROUGH 10, INCLUSIVE, PLAINTIFF ALLEGES:
26            109.    Plaintiff realleges and incorporates herein by reference Paragraphs 1
27     through 48, inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
28     60, inclusive, ofits Complaint with the same force and effect as though set forth in full.
                                                Page 26

                                Complaint & Demand for Jury Trial
                         Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 27 of 44 Page ID #:27



                     1           110.    The relevant time period for Defendant K. Chism' sand Parrish's pattern
                    2     of racketeering stems from at least September 14, 201 7 through the present, and
                    3     possibly earlier, but at this point in discovery is as yet unknown and continues to the
                    4      filing of this RICO Complaint.
                    5            111.    Defendant K. Chism is now and was at all times relevant to this action
                    6      a RICO Person ("RICO Person") within the meaning of 18 U.S.C. §§ 1961(3) and
                     7     1962(c).
                     8           112.    Defendant Parrish is now and was at all times relevant to this action a
                     9     RICO Person ("RICO Person") within the meaning of 18 U.S.C. §§ 1961(3) and

 ~
       o
       0
                    10     1962(c).
~      N
 ~ ~                11     The RICO Enterprise
 ~:::,

~ ffi ~@            12           113.    The RICO Persons have used the corporate entity, Diligence, within the
 I:!   $ O'l ,sl-
 ·! ~ ~ ~ 13 meaningof18U.S.C. §§ 1961(4), tocarryoutthepattemofracketeeringactivity. This
 "<>   WO:::M
~0:::0csi
~      i ~ ~ 14 enterprise consists of the RICO enterprise (Diligence) operated by the RICO persons,
~ ::::!UU.
 ~     5 0 15 Defendants K. Chism, Parrish and Does 1 through 10 hereto (the "Rico Family"). This
        ~
Ji :::, u:l ~
~  ~ ~ ~ 16 RICO enterprise possessed and continues to possess a common purpose and goal, a
-i <(<C~
   •   oCl)M
~ ~ g ~ 17                 membership, organizational structure, and an ongoing relationship amongst the RICO
~ 0:::
 <:!   Cl
~ ~                 18     Persons, the RICO business (which was formed by Defendant K. Chism on or about
       0

       '°           19     September 14, 2017) and the Rico Family with sufficient longevity to permit and
                    20     enable pursuit of the enterprise's purpose and long term objective through a continuous
                    21     course of conduct that affected and continues to affect interstate commerce.
                    22           114.    This association-in-fact enterprise of Defendants also consists of non-
                    23     Defendants S. Chism, 0. Chism, A. Chism and J. Wiley (the "Rico Family and
                    24     Friends"). Plaintiff is informed and believes, and based upon such information and
                    25     belief alleges, that all of the afore-named individuals facilitated and assisted the RICO
                    26     Persons defined hereinabove, in carrying out the enterprise described hereinabove and
                    27     hereinbelow but Plaintiff does not at this time have sufficient facts to maintain a claim
                    28 for relief against said individuals. Plaintiff will amend its Complaint to set forth their
                                                                    Page 27

                                                    Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 28 of 44 Page ID #:28




1 true names when same have been ascertained.
2            115.    Diligence is an enterprise that exists separate and apart from Defendants
3     K. Chism's and Parrish's pattern of racketeering activity inasmuch as the RICO
4     Persons, the RICO enterprise, the Rico Family and the Rico Family and Friends have
5     multiple goals, not all of which are fraudulent or illegal. The lawful activity engaged
6      in by the Diligence enterprise includes functioning as a regular business which
7      provides security guards to the clients of Diligence which consists of
8      public/government entities throughout the State of Tennessee. However, The RICO
 9     Persons, the RICO enterprise, the Rico Family and the Rico Family and Friends have,
10     since at least May of 2023, used this enterprise to conduct the repetitive acts of
11     theft/conversion which compromise the pattern of racketeering, as well as the
12     continuous acts set forth hereinabove, which constitute violations of the criminal acts
13     of theft/ conversion.
              116.    Defendant K. Chism is a "person" under the civil RICO statute because
15     he knowingly and fraudulently masterminded, conducted and participated in the
16 conduct, the management and the operation of the enterprise's affairs, directly or
17     indirectly, through a pattern of theft/conversion racketeering activity in violation of 18
18     U.S.C. § 1962(C).
19            117.    As part of the theft/conversion scheme, Defendants Parrish and DOES
20     1 through 10, inclusive, at the direction of Defendant K. Chism, used a complex
21     scheme to transfer funds which rightfully belonged to Plaintiff pursuant to the terms
22     and conditions of Exhibit "1" hereto to banks, other than Bank of America, N.A.
23     account #1732 where the funds from 3rd party vendors were to be deposited pursuant
24     to said written agreement, in Tennessee and elsewhere in the United States.
25            118.    At all relevant times, the Defendants and other conspirators associated
26     with the Diligence enterprise conducted and participated, directly or indirectly, in the
27     conduct of the enterprise affairs through a "pattern of racketeering activity" within the
28     meaning of RICO, 18 U.S.C. § 1961(5), in violation of RICO, 18 U.S.C. § 1962(e).
                                                Page 28

                                Complaint & Demand for Jury Trial
    Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 29 of 44 Page ID #:29



1           119.    Specifically, at all relevant times, Defendants K. Chism, Parrish and
2     Does 1 through 10, inclusive, engaged in "racketeering activity" within the meaning
3     of 18 U.S.C. § 1961(1) by engaging in the acts set forth above against Plaintiff, and
4     other financial institutions in the marketplace all with the express purpose of avoiding
5     payment of the outstanding amounts due to Plaintiff.
6           120.    In furtherance of this racketeering pattern, smce May of 2023,
 7    Defendants caused monies to be transferred into bank accounts to which Plaintiff did
 8    not have access and thereafter converted said funds to their own use and benefit.
 9          121.    In addition, Defendants, as part of their racketeering activity also took
10    the funds illegally taken out of the Bank of America, N.A. account # 1732 to which
11    Plaintiff had access and deposited those funds into accounts at Banks in the United
12    States to which Plaintiff did not have access, and said funds were also used to pay the
13    personal and/or business expenses of Defendants K. Chism, Parrish and Does 1
14    through 10, inclusive.
             122.   Thus, the acts set forth above constitute a violation of one or more of the
16    following statutes: 18 U.S.C. § 1956 and § 1957 (wire fraud, money laundering and
17    theft/conversion).   Defendants and their accomplices and co-conspirators each
18    committed and/or aided and abetted in the commission of two or more of these acts of
19    racketeering activities.
20           123.   The acts by the RICO Persons in furtherance of their theft/conversion
21    scheme to launder funds and convert same to their own use to avoid payment of the
22    outstanding amounts due to Plaintiff constituted a pattern of racketeering activity
23    within the meaning of 18 U.S.C. § 1961(5) because the predicate acts are repetitive,
24    related and continuous. Each predicate act described hereinabove had the same or
25    similar purpose: the predicate acts involved material misrepresentations, omissions and
26    concealment in a scheme to injure Plaintiff and defraud Plaintiff of the monies
27    rightfully due to it pursuant to the terms and conditions of Exhibit "1" hereto. This
28    pattern of racketeering is separate and distinct from the legitimate business activities
                                               Page 29

                                 Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 30 of 44 Page ID #:30



1    of Diligence.
2           124.     Defendants and other disparagers committed acts in violation of 18
3    U.S. C. § 195 6( a)( 1) in which Defendants conducted a financial transaction, namely, the
4    transferance of funds out of bank accounts to which Plaintiff had agreed upon access
5    with the specific intent of designing or concealing or disguising the nature, location,
6    source, ownership or control of the proceeds. See 18 U.S.C. § 1956(a)(l)(B)(i).
7           125.     In addition, Plaintiff is informed and believes and thereon alleges that
8    the multiple transactions were undertaken by the Defendants with the knowledge that
 9   the transaction was designed to avoid the transaction reporting requirements under
10   Federal statutes [e.g., in violationof31 U.S.C. §§5313 (currencytransactionreports),
11   5316 (Currency and Monetary Instruments Reports), or 26 U.S.C. §60501 (Internal
12   Revenue Service Form 8300)].
13          126.     Defendants, indeed, have, through their misconduct described
14   hereinabove violated 18 U.S.C. § 1957, because these Defendants, or at the very least
15   Defendants K. Chism and Parrish, conducted multiple monetary transactions that were
16   criminal by nature because the funds were illegally taken out of bank accounts to
17   which Plaintiff had access pursuant to the terms and conditions of Exhibit "1" hereto
18   and turned into cash and/or placed in bank accounts over which Plaintiff had no access,
19   and that such property was inanamountgreaterthan $10,000. See U.S.C. § 1957(f)(l).
20   These transactions included deposits, withdrawals, transfers, or exchanges, in or
21   effecting interstate commerce, of funds or monetary instruments that by, or through,
22   to a financial institution, including any transaction that would be defined as a
23   transaction under 18 U.S.C. §§1956(c)(3) and 1956(c)(4).
24          127.     Furthermore, each one of these financial transactions constitutes a
25   separate act unless there is a pattern of illegal conduct that qualifies for invocation of
26   the RICO statute. See, e.g., United States v. Prescott, 42 Cap.F.3d 1165 (8 th Cir.
27   1994); United States v. Conley, 826 F.Supp. 1536 (W.D.Pa. 1998).
28          128.     There is extra territorial jurisdiction for these violations as the
                                               Page 30

                               Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 31 of 44 Page ID #:31




1    transactions in question not only exceed $10,000, but also that the theft/conversion was
2    conducted by a United States citizen and the conduct occurred in the United States.
3    See 18 U.S.C. §§1956(f), 1957(d).
4           129.   The acts of racketeering activity previously described constitute a
5    "pattern of racketeering activity" within the meaning of 18 U.S.C. § 1951(5).
6           130.   The acts alleged were related to each other by virtue of common
7    participants, common victims and a common result of fraud and enriching the
8    Defendants and conspirators at Plaintiffs expense while concealing the conspirators'
 9   fraudulent activities. The theft/conversion scheme continues and would have remained
10   unknown but for Plaintiffhaving discovered the fraudulent activities when it attempted
11   to debit the Bank of America, N.A. account # 1732 of Diligence and there were no
12   funds present therein after Plaintiff had confirmed that Diligence's 3rd party vendors
13   had in fact paid all outstanding amounts due to Diligence.
            131.    To date, Plaintiffhas been damaged in at least the sum of One Hundred
15   Six Thousand Eight Hundred Ten and 08/100 Dollars ($106,810.08) or according to
16   proof at the time of trial together with interest thereon at the lawful rate of 10% per
17   annum from and after the "Payment Date" set forth on each invoice attached hereto as
18   Exhibits "2" through "7", inclusive plus the 5% additional fee agreed upon between the
19   parties for the additional extensions of time to pay granted by Plaintiff to Defendants
20   in the sum of $5,340.50 plus attorneys' fees.
21          132.    Pursuant to RICO, 18 U.S.C. § 1964(c), Plaintiff is entitled to recover
22   three-fold its damages, plus costs and attorneys' fees from the Defendants.
23                              SIXTH CLAIM FOR RELIEF
24         (Fraud and Deceit - Intentional Misrepresentation - Suppression of Fact)
25          AS AND FOR A SIXTH CLAIM FOR RELIEF FOR FRAUD AND DECEIT -
26   INTENTIONAL MISREPRESENTATION - SUPPRESSION OF FACT, AGAINST
27   DEFENDANTS DILIGENCE, K. CHISM, P ARRISHAND DOES 11 THROUGH 25,
28   INCLUSIVE, PLAINTIFF ALLEGES:
                                              Page 31

                              Complaint & Demand for Jury Trial
                       Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 32 of 44 Page ID #:32



                      1          13 3.    Plaintiff realleges and incorporates herein by reference Paragraphs 1
                      2    through 48, inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
                      3    60, inclusive, ofits Complaint with the same force and effect as though set forth in full.
                      4           134.    Plaintiff is informed and believes, and based upon such information and
                      5    belief alleges, that commencing on June 5, 2023 and continuing through the present,
                      6    Defendants, and each of them, through Defendants K. Chism and Parrish, falsely,
                      7    fraudulently and intentionally made the representations telephonically and in writing
                      8    ( via email) set forth in Paragraphs 31 through 48 hereinabove and as evidenced by

                       9   Exhibits "1" through "15" hereto.

  s:
        0
        ..-
                      10          135.    The representations made by Defendants, and each of them, were in fact
        0
 ~ N
 ~ w
  <:,   I-            11   false, fraudulent and intentional. The true facts were that Defendants, and each of
  ~5
~       en  ..- w
~ w8~
        0:: I'- C')
                      12 them, through Defendants K. Chism and Parrish, knew, at the time they made the
 <:! 5 0, '<I"
  S:    Q<(N
 -~     t- z ~        13   foregoing false and fraudulent representations that Defendants had no intention of
"'WO::M
~       o::o ..-
  ~     0 u.. ~
~ ~ ~ ~
                      14 paying the outstanding amounts due to Plaintiff and in truth and in fact it was a
~       :::!UU..
        Ill   - -
    ~w- ~~            15 "scheme" orchestrated by Defendants to deprive Plaintiff of the monies to which it was
 .ll ::, u:l ~
~       ffi
         C) '<I"
        >ZN           16 rightfully entitled. All of the false and fraudulent representations were made by
        <( <(   ~
~O(f)M
        zON           17 Defendants, through Defendants K. Chism and Parrish, to induce Plaintiff into
~       ~...J~
  <:!   C)
  s:    (/)           18   factoring the invoices/accounts receivable of Defendant Diligence so that Defendants,
~ 00
        LO
                      19 and each of them, could divert the funds received from Defendants' customers in
                      20 payment of invoices to their own use and benefit and could obtain monies from
                      21   Plaintiff on invoices which had already been paid by Defendants' customers.
                      22          13 6.   Furthermore, Plaintiffbelieves that (a) the payment by Defendants on the
                      23   first twenty-six invoices factored was done for the purpose of lulling Plaintiff into a
                      24   fall sense of security that Defendants would in fact pay Plaintiff for the additional
                      25   invoices factored (Exhibits "2" through "7", inclusive hereto) when in truth and in fact,
                      26 Defendants knew that payment had already been made by Defendants' customers and
                      27   always intended to divert and convert the funds paid by their customers, which funds
                      28 rightfully belonged to Plaintiff, to their own use and benefit.
                                                                     Page 32

                                                     Complaint & Demand for Jury Trial
    Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 33 of 44 Page ID #:33




1           13 7.   Plaintiff is further informed and believes and based thereon alleges that
2    Defendants never had any intention whatsoever ofpaying Plaintiffany additional sums
3     on the factored invoices/accounts receivable, but rather always intended to keep the
4     $106,810.08 advanced by Plaintiff and convert same to their own use and benefit.
5           138.    When Defendants, and each of them, intentionally made these false and
6     fraudulent representations they knew them to be false, and these false and fraudulent
7     representations were made by Defendants, and each of them, with the intent to defraud
8     and deceive Plaintiff, and with the intent to induce Plaintiffs to act in the manner
9     herein alleged.
10          139.    Plaintiff, at the time these false and fraudulent representations were
11    intentionally made by Defendants, and each of them, and at the time Plaintiff took the
12    actions herein alleged, was ignorant of the falsity of Defendants' representations and
13    believed them to be true.      In justifiable reliance on these false and fraudulent
14    representations, Plaintiff was induced to and did factor Exhibits "2" through "7"
15    inclusive, hereto into a bank account controlled, exclusively, by Diligence. Had
16    Plaintiff known the actual facts, it would never have factored Exhibits "2" through "7"
17    inclusive, hereto into a bank account controlled by Defendant Diligence. Plaintiffs
18    reliance on Defendants' false and fraudulent representations was justified because
19    Defendants had timely paid Plaintiff the monies due on twenty-six (26) prior invoices.
20          140.    As a proximate result ofDefendants' fraud and deceit and the facts herein
21    alleged, Plaintiff was deprived of the monies to which it was rightfully entitled, all to
22    Plaintiffs damage in at least the sum of One Hundred Six Thousand Eight Hundred
23    Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of trial
24    together with interest thereon at the lawful rate of 10% per annum from and after the
25    "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through "7",
26    inclusive plus the 5% additional fee agreed upon between the parties for the additional
27    extensions of time to pay granted by Plaintiff to Defendants in the sum of $5,340.50
28    plus attorneys' fees and costs according to proof but in at least the sum of$50,000.00,
                                               Page 33

                               Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 34 of 44 Page ID #:34



1    or in an amount to be determined at trial.
2          141.    The aforementioned conduct of Defendants, and each of them, was
3    intentional misrepresentation, deceit or concealment of a material fact known to the
4    Defendants with the intention on the part of the Defendants of thereby depriving
5    Plaintiff of property or legal rights or otherwise causing injury, and was despicable
6    conduct that subjected Plaintiff to a. cruel and unjust hardship in conscious disregard
7    of Plaintiffs rights, so as to justify an award of punitive and exemplary damages, as
8    well as an award of attorneys' fees to the extent allowed by law.
 9                            SEVENTH CLAIM FOR RELIEF
10         (Fraud and Deceit - Negligent Misrepresentation - Suppression of Fact)
11         AS AND FOR A SEVENTH CLAIM FOR RELIEF FOR FRAUD AND
12   DECEIT - NEGLIGENT MISREPRESENTATION - SUPPRESSION OF FACT,
13   AGAINST DEFENDANTS DILIGENCE, K. CHISM, PARRISH AND DOES 11
14   THROUGH 25, INCLUSIVE, PLAINTIFF ALLEGES:
            142.   Plaintiff realleges and incorporates herein by reference Paragraphs 1
16   through 48, inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
17   60, inclusive, ofits Complaint with the same force and effect as though set forth in full.
18          143.    In order to state a claim for negligent misrepresentation, Plaintiff must
19   plead: (1) the misrepresentation of a past or existing material fact, (2) without
20   reasonable ground for believing it to be true, (3) within intent to induce another's
21   reliance on the fact misrepresented, (4) justifiable reliance on the misrepresentation;
22   and (5) resulting damage. Apollo Fund, LLC v. Roth Capital Partners, LLC, 158
23   Cal.App.4th 226, 243 (2007). "Negligent misrepresentation is a species of fraud or
24   deceit specifically requiring an assertion." Wilson v. Century 21, 15 Cal.App.4th 298,
25   306 (1993). Yet unlike an allegation of fraud, "negligent misrepresentation does not
26   require knowledge of falsity." Apollo, 158 Cal.App.4th at 243. Moreover, the Ninth
27   Circuit has not yet decided whether the heightened pleading requirements under Rule
28   9 apply in negligent misrepresentation claims. Petersen v. Allstate Indemnity Co., 281
                                              Page 34

                              Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 35 of 44 Page ID #:35




1    F.R.D. 413, 418-19 (C.D. Cal. 2012).
2          144.    In light of the fact that Plaintiff has stated and set forth a valid claim for
3    fraud against the Defendants based on the facts alleged hereinabove, we ask the Court
4    to also find that Plaintiff has stated a claim for negligent misrepresentation. See Cisco
5    Systems, Inc. v. Tsai, 215 W.L. 1273249 at *5 (C.D. Cal. January 9, 2015) (confirming
6    claim for negligent misrepresentation can be established by the same elements of fraud
7    but without the knowledge element).
8           145.   As a proximate result ofDefendants' negligent misrepresentation and the
 9   facts herein alleged, Plaintiff has suffered damages in at least the sum of One Hundred
10   Six Thousand Eight Hundred Ten and 08/100 Dollars ($106,810.08) or according to
11   proof at the time of trial together with interest thereon at the lawful rate of 10% per
12   annum from and after the "Payment Date" set forth on each invoice attached hereto as
13   Exhibits "2" through "7", inclusive plus the 5% additional fee agreed upon between the
14   parties for the additional extensions of time to pay granted by Plaintiff to Defendants
15   in the sum of$5,340.50 plus attorneys' fees and costs according to proofbut in at least
16   the sum of $50,000.00, or in an amount to be determined at trial.
                               EIGHTH CLAIM FOR RELIEF
18                                         (Conversion)
19          AS AND FOR AN EIGHTH CLAIM FOR RELIEF FOR CONVERSION
20   AGAINST DEFENDANTS DILIGENCE, K. CHISM, PARRISH AND DOES 11
21   THROUGH 25, INCLUSIVE, PLAINTIFF ALLEGES:
22          146.    Plaintiff realleges and incorporates herein by reference Paragraphs 1
23   through 48, inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
24   60, inclusive, of its Complaint with the same force and effect as though set forth in full.
25          147.    From on or about May 1, 2023 through the present, Plaintiff was and still
26   is the owner of and entitled to possession of the $106,810.08 taken by Defendants.
27          148.    From on or about at least May 1, 2023 through the present, the above-
28   mentioned property had a value of at least $106,810.08.
                                               Page 35

                               Complaint & Demand for Jury Trial
    Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 36 of 44 Page ID #:36




1           149.    From on or about at least May 1, 2023 through the present, Defendants,
2     and each of them, took the above-mentioned property from Plaintiff and converted the
3     same to their own use and benefit.
4           150.    From on or about May 1, 2023 through the present, when Plaintiff first
5     realized that Defendants, and each of them, had taken Plaintiffs monies/property and
6     converted same to their own use and benefit, Plaintiff demanded, orally and in writing,
 7    that Defendants immediately turn over the above-mentioned property to Plaintiff but
8     Defendants, and each of them, to date, have failed and refused and continue to fail and
 9    refuse to do so.
10          151.    As a proximate result of Defendants' conversion, Plaintiff has been
11    deprived of the use and benefit to be derived from the property converted, all to
      Plaintiffs damage in at least the sum of One Hundred Six Thousand Eight Hundred
      Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of trial
14    together with interest thereon at the lawful rate of 10% per annum from and after the
15    "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through "7",
16    inclusive plus the 5% additional fee agreed upon between the parties for the additional
17    extensions of time to pay granted by Plaintiff to Defendants in the sum of $5,340.50
18    plus attorneys' fees and costs according to proof but in at least the sum of$50,000.00,
19    or in an amount to be determined at trial.
20           152.    Since Defendants, and each of them, knew that Plaintiff needed the
21    aforesaid property, and that it would incur substantial hardship and expenses as a result
22    of the conversion of the property belonging to Plaintiff by Defendants, and each of
23    them, to themselves for their own use and benefit, the aforementioned conduct of
24    Defendants, and each of them, was done with the intention on the part of the
25    Defendants of depriving Plaintiff of its property and/or legal rights and otherwise
26    causing injury and was despicable conduct that subjected Plaintiff to cruel and unjust
27    hardships in conscious disregard of Plaintiffs rights so as to justify an award of
28    exemplary and punitive damages.
                                               Page 36

                               Complaint & Demand for Jury Trial
    Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 37 of 44 Page ID #:37




1                                 NINTH CLAIM FOR RELIEF
2                    (Unjust Enrichment and Imposition of Constructive Trust)
3           AS AND FOR A NINTH CLAIM FOR RELIEF BASED ON UNJUST
4     ENRICHMENT AND IMPOSITION OF CONSTRUCTIVE TRUST AGAINST
5     DEFENDANTS DILIGENCE,K.CHISM,PARRISHANDDOES 11 THROUGH25,
6     INCLUSIVE, PLAINTIFF ALLEGES:
7           153.      Plaintiff realleges and incorporates herein by reference Paragraphs 1
8     through 48, inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
9     60, inclusive, ofits Complaint with the same force and effect as though set forth in full.
10           154.     Plaintiff is informed and believes and thereon alleges that Defendants,
11    and each of them, have received a benefit at Plaintiffs expense.
             155.     As alleged herein, as a direct and proximate result of the conduct of
13    Defendants, and each of them, Plaintiff has been damaged in at least the sum of One
14    Hundred Six Thousand Eight Hundred Ten and 08/100 Dollars ($106,810.08) or
15    according to proof at the time of trial together with interest thereon at the lawful rate
16    of 10% per annum from and after the "Payment Date" set forth on each invoice
17    attached hereto as Exhibits "2" through "7", inclusive plus the 5% additional fee
18    agreed upon between the parties for the additional extensions of time to pay granted
19    by Plaintiff to Defendants in the sum of $5,340.50 plus attorneys' fees and costs
20    according to proof but in at least the sum of $50,000.00, or in an amount to be
21    determined at trial.
22           156.     As further alleged herein, Defendants, and each of them, have enjoyed
23    a benefit as alleged in this Complaint to the detriment of Plaintiff. Plaintiff is informed
24    and believes and thereon alleges that the benefits conferred upon Defendants, and each
25    of them, was the result of mistake, fraud or coercion, or request, thus making their
26    enrichment unjust.
27           15 7.    According!y, in order to protect the Plaintiff, pending the final reso 1ution
28    of this action, Plaintiff requests that the Court impose a Constructive Trust over a
                                                 Page 37

                                Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 38 of 44 Page ID #:38



1    sufficient amount of Defendants' assets and resources in order to ensure that Plaintiff
2    is made whole at the conclusion of this action.
3                              TENTH CLAIM FOR RELIEF
4                     (CIVIL CONSPIRACY TO COMMIT FRAUD)
5          AS AND FOR A TENTH CLAIM FOR RELIEF FOR CIVIL CONSPIRACY
6    TO COMMIT FRAUD AGAINST DEFENDANTS                          DILIGENCE, K. CHISM,
7    PARRISH AND DOES 11 THROUGH 25, INCLUSIVE, PLAINTIFF ALLEGES:
8          158.    Plaintiff realleges and incorporates herein by reference Paragraphs 1
9    through 48, inclusive, Paragraphs 50 through 54, inclusive, and Paragraphs 56 through
10   60, inclusive, ofits Complaint with the same force and effect as though set forth in full.
11          159.    Defendants, and each of them, agreed and knowingly and willfully
12   conspired among themselves to defraud Plaintiff as to converting the $106,810.08 paid
13   by Plaintiff to Defendant Diligence on the factored invoices.
            160.    As a proximate result of the wrongful acts herein alleged, Plaintiff has
15   been damaged in at least the amount of One Hundred Six Thousand Eight Hundred Ten
16   and 08/100 Dollars ($106,810.08) or according to proof at the time of trial together
17   with interest thereon at the lawful rate of 10% per annum from and after the "Payment
18   Date" set forth on each invoice attached hereto as Exhibits "2" through "7", inclusive
19   plus the 5% additional fee agreed upon between the parties for the additional
20   extensions of time to pay granted by Plaintiff to Defendants in the sum of $5,340.50
21   plus attorneys' fees and costs according to proof but in at least the sum of$50,000.00,
22   or in an amount to be determined at trial.
23          161.    The acts ofDefendants, and each of them, as described herein were acts
24   of oppression, fraud and malice. Accordingly, Plaintiff should be awarded exemplary
25   and punitive damages pursuant to California Civil Code Section 3294, for the sake of
26   example and by way of punishing Defendants, and each of them, and deterring such
27   future conduct in an amount to be determined at trial.
28                        PLAINTIFF DEMANDS A JURY TRIAL
                                              ' Page 38

                              Complaint & Demand for Jury Trial
    Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 39 of 44 Page ID #:39




1              WHEREFORE, Plaintiff prays for relief as follows:
2              FOR THE FIRST CLAIM FOR RELIEF FOR BREACH OF WRITTEN
3     CONTRACT AS TO                DILIGENCE, K. CHISM, PARRISH AND DOES 11
4     THROUGH 25, INCLUSIVE:
5              1.     For damages in at least the sum of One Hundred Six Thousand Eight
6     Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
7     trial;
8              2.     For interest thereon at the lawful rate of 10% per annum from and after
 9    the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
10 "7" inclusive·
      '         '
11       3.      For the 5% additional fee agreed upon between the parties for the
12    additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
13    $5,340.50; and
14             4.     For attorneys' fees in at least the sum of $50,000.00 or according to
15    proof at the time of trial;
               FOR THE SECOND CLAIM FOR RELIEF FOR BREACH OF ORAL
17    CONTRACT AS TO DEFENDANTS DILIGENCE, K. CHISM, PARRISH AND
18    DOES 11 THROUGH 25, INCLUSIVE:
19             5.     For damages in at least the sum of One Hundred Six Thousand Eight
20    Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
21    trial;
22             6.     For interest thereon at the lawful rate of 10% per annum from and after
23    the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
24    "7" inclusive·
          '           '
25             7.     For the 5% additional fee agreed upon between the parties for the
26    additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
27    $5,340.50; and
28             8.      For attorneys' fees in at least the sum of $50,000.00 or according to
                                               Page 39

                                Complaint & Demand for Jury Trial
     Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 40 of 44 Page ID #:40




1     proof at the time of trial;
2               FOR THE THIRD CLAIM FOR RELIEF FOR VIOLATIONS OF THE
3     RACKETEERING INFLUENCE AND CORRUPT ORGANIZATIONS ACTION
4      ("RICO") (WIRE FRAUD) AGAINST DEFENDANTS K. CHISM, PARRISH AND
5     DOES 1 THROUGH 10, INCLUSIVE:
6               9.    For damages in at least the sum of One Hundred Six Thousand Eight
7      Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
8     trial;
 9              10.   For interest thereon at the lawful rate of 10% per annum from and after
10     the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
11     "7" inclusive·
           '          '
                11.   For the 5% additional fee agreed upon between the parties for the
13     additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
14     $5,340.50;
                12.   For punitive and exemplary damages according to proof at the time of
16     trial; and
                13.   For attorneys' fees to the extent permitted by law;
                                                    I

18              FOR THE FOURTH CLAIM FOR RELIEF FOR VIOLATIONS OF THE
19     RACKETEERING INFLUENCE AND CORRUPT ORGANIZATIONS ACTION
20     ("RICO") (MONEY LAUNDERING) AGAINST DEFENDANTS K. CHISM,
21     PARRISH AND DOES 1 THROUGH 10, INCLUSIVE:
22              14.     For damages in at least the sum of One Hundred Six Thousand Eight
23     Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
24     trial;
25              15.     For interest thereon at the lawful rate of 10% per annum from and after
26     the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
27     "7" inclusive·
           '          '
28              16.       For the 5% additional fee agreed upon between the parties for the
                                                 Page 40

                                   Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 41 of 44 Page ID #:41



1    additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
2    $5,340.50;
3             17.   For punitive and exemplary damages according to proof at the time of
4    trial;
5             18.   For attorneys' fees to the extent permitted by law;
6             FOR THE FIFTH CLAIM FOR RELIEF FOR VIOLATIONS OF THE
7    RACKETEERING INFLUENCE AND CORRUPT ORGANIZATIONS ACTION
8    ("RICO") (THEFT/CONVERSION) AGAINST DEFENDANTS K. CHISM,
9    PARRISH AND DOES 1 THROUGH 10, INCLUSIVE:
10            19.   For damages in at least the sum of One Hundred Six Thousand Eight
11   Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
12   trial;
              20.   For interest thereon at the lawful rate of 10% per annum from and after
14   the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
     "7" inclusive·
         '          '
              21.   For the 5% additional fee agreed upon between the parties for the
17   additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
18   $5,340.50;
19            22.   For punitive and exemplary damages according to proof at the time of
20   trial;
21            23.   For attorneys' fees to the extent permitted by law;
22            FOR THE SIXTH CLAIM FOR RELIEF FOR FRAUD AND DECEIT -
23   INTENTIONAL MISREPRESENTATION - SUPPRESSION OF FACT AGAINST
24   DEFENDANTS DILIGENCE,K.CHISM,PARRISHANDDOES 11 THROUGH25,
25   INCLUSIVE:
26            24.     For damages in at least the sum of One Hundred Six Thousand Eight
27   Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
28   trial;
                                             Page 41

                               Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 42 of 44 Page ID #:42




1             25.   For interest thereon at the lawful rate of 10% per annum from and after
2    the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
3    "7" inclusive·
         '          '
4             26.   For the 5% additional fee agreed upon between the parties for the
5    additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
6    $5,340.50; and
7             27.   For attorneys' fees in at least the sum of $50,000.00 or according to
8    proof at the time of trial;
9             28.   For punitive and exemplary in an amount to be determined at trial;
10            FOR THE SEVENTH CLAIM FOR RELIEF FOR FRAUD AND DECEIT -
11   NEGLIGENT MISREPRESENTATION - SUPPRESSION OF FACT AGAINST
12   DEFENDANTS DILIGENCE, K. CHISM, P ARRISHAND DOES 11 THROUGH 25,
13   INCLUSIVE:
14            29.     For damages in at least the sum of One Hundred Six Thousand Eight
15   Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
16   trial;
              30.     For interest thereon at the lawful rate of 10% per annum from and after
18   the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
19 "7" inclusive·
      '         '
20       31.     For the 5% additional fee agreed upon between the parties for the
21   additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
22   $5,340.50; and
23            32.       For attorneys' fees in at least the sum of $50,000.00 or according to
24   proof at the time of trial;
25            FOR THE EIGHTH CLAIM FOR RELIEF FOR CONVERSION AGAINST
26   DEFENDANTSDILIGENCE,K.CHISM,PARRISHANDDOES 11 THROUGH25,
27   INCLUSIVE:
28            33.       For damages in at least the sum of One Hundred Six Thousand Eight
                                                Page 42

                                 Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 43 of 44 Page ID #:43



 1   Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
 2   trial;
 3            34.   For interest thereon at the lawful rate of 10% per annum from and after
 4   the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
 5 "7" inclusive·
      '         '
 6       35.     For the 5% additional fee agreed upon between the parties for the
 7   additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
 8   $5,340.50; and
 9            36.   For attorneys' fees in at least the sum of $50,000.00 or according to
10   proof at the time of trial;
11            37.   For punitive and exemplary damages according to proof at the time of
12   trial;
              FOR THENINTHCLAIMFORRELIEFFOR UNJUST ENRICHMENT AND
14   IMPOSITION        OF     CONSTRUCTIVE        TRUST      AGAINST       DEFENDANTS
15   DILIGENCE, K. CHISM, PARRISH AND DOES 11 THROUGH 25, INCLUSIVE:
16            38.   For damages in at least the sum of One Hundred Six Thousand Eight
17   Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
18   trial;
19            39.   For interest thereon at the lawful rate of 10% per annum from and after
20   the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
21   "7", inclusive;
22            40.   For the 5% additional fee agreed upon between the parties for the
23   additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
24   $5,340.50; and
25            41.   For attorneys' fees in at least the sum of $50,000.00 or according to
26   proof at the time of trial;
27            42.   For imposition of a constructive trust over a sufficient amount of
28   Defendants' assets and resources in order to ensure that Plaintiff is made whole at the
                                             Page 43

                               Complaint & Demand for Jury Trial
 Case 2:23-cv-08414 Document 1 Filed 10/05/23 Page 44 of 44 Page ID #:44



 1 conclusion of this action;
 2            FOR THE TENTH CLAIM FOR RELIEF FOR CIVIL CONSPIRACY TO
 3   COMMIT FRAUD AGAINST DEFENDANTS DILIGENCE, K. CHISM, PARRISH
 4   AND DOES 11 THROUGH 25, INCLUSIVE:
 5            43.    For damages in at least the sum of One Hundred Six Thousand Eight
 6   Hundred Ten and 08/100 Dollars ($106,810.08) or according to proof at the time of
 7   trial;
 8            44.    For interest thereon at the lawful rate of 10% per annum from and after
 9   the "Payment Date" set forth on each invoice attached hereto as Exhibits "2" through
10   "7" inclusive·
         '          '
11            45.    For the 5% additional fee agreed upon between the parties for the
12   additional extensions of time to pay granted by Plaintiff to Defendants in the sum of
13   $5,340.50;
              46.    For attorneys' fees in at least the sum of $50,000.00 or according to
15   proof at the time of trial; and
              47.    For punitive and exemplary damages according to proof at the time of
17   trial;
18            FOR ALL CAUSES OF ACTION:
19            48.    For costs of suit incurred herein; and
20            49.    For any such other and further relief as this Honorable Court deems just
21   and proper.
22            DATED: September~ 'f , 2023
23                                     Respectfully submitted,
24                                RONALD
                             APROFESSIO                          TION
25
26
                                   BY:RO       "1'¥'1¥-i'/ N•   ES
27                  Attorney for Plaintiff L         nc., a Delaware corporation
28
                                               Page 44

                               Complaint & Demand for Jury Trial
